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 3
     Attorney for Defendant,
 4   Temika Reed
 5
                                                UNITED STATES DISTRICT COURT
 6
                                         FOR THE EASTERN DISTSRICT OF CALIFORNIA
 7

 8                                                                 )    Case No. CR S 11-0458 GEB
     UNITED STATES OF AMERICA,                                     )
 9                                                                 )    STIPULATION AND PROPOSED ORDER
                                   Plaintiff,                      )    SETTING MATTER FOR STATUS OF
10                                                                 )    SENTENCING
                           vs.                                     )
11                                                                 )
     TEMIKA REED,                                                  )
12                                                                 )
                                   Defendant                       )
13
                           The parties hereto stipulate that the status of sentencing hearing now set for May 31,
14

15
     2013, be continued to August 2, 2013 at 9:00 a.m.

16   DATED: May 21, 2013                                         /s/ Timothy E. Warriner, Attorney for Defendant,
                                                                 Temika Reed
17
     DATED: May 21, 2013                                         /s/ Michael M. Beckwith, Assistant U.S. Attorney
18

19

20   IT IS SO ORDERED

21
     Date: 5/21/2013
22

23                                                          ___________________________________
                                                            GARLAND E. BURRELL, JR.
24                                                          Senior United States District Judge
25

26   DEAC_Signature-END:




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